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                     IN THE UNITED STATES DISTRICT COURT FOR
                         THE EASTERN DISTRICT OF VIRGINIA
                                (Newport News Division)

JAMES T. PARKER, II, et al.                   )
                                              )
       Plaintiffs,                            )
                                              )
v.                                            )          Case No: 4:18-cv-00140
                                              )
FREEDOM MORTGAGE                              )
CORPORATION, et al.,                          )
                                              )
       Defendants.                            )
                                              )

                     ANSWER AND AFFIRMATIVE DEFENSES
              OF DEFENDANT, FREEDOM MORTGAGE CORPORATION

               Defendant, Freedom Mortgage Corporation (“Freedom Mortgage”), by counsel,

and for its Answer and Affirmative Defenses to the Complaint of Plaintiffs, James T. Parker, II,

and Debra L. Parker (“Plaintiffs”), states as follows:

                                  As to Preliminary Statement

       1.      The allegations contained in this paragraph merely purport to characterize what

claims and remedies Plaintiffs are seeking in this action; therefore, no response is required.

                                        As to Jurisdiction

       2.      The allegations of this paragraph constitute a legal conclusion to which no

response is required.

       3.      The allegations of this paragraph constitute a legal conclusion to which no

response is required.
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As to Parties

       4.       Admitted only that Plaintiff, James T. Parker, II is a natural person.          The

remaining allegation in this paragraph constitutes a legal conclusion to which no response is

required.

       5.       Admitted only that Plaintiff, Debra L. Parker is a natural person. The remaining

allegation in this paragraph constitutes a legal conclusion to which no response is required.

       6.       Denied as stated. Rather, Freedom Mortgage is a New Jersey corporation, duly

authorized to transact business in the Commonwealth of Virginia. The remaining allegations in

this paragraph constitute legal conclusions to which no response is required.

       7.       The allegations in this paragraph are directed to Experian, and therefore, no

response by Freedom Mortgage is required.          To the extent that the allegations of these

paragraphs could be construed as pertaining to Freedom Mortgage, Freedom Mortgage responds

as follows: Denied.

       8.       The allegations in this paragraph are directed to Experian, and therefore, no

response by Freedom Mortgage is required.          To the extent that the allegations of these

paragraphs could be construed as pertaining to Freedom Mortgage, Freedom Mortgage responds

as follows: Denied.

       9.       The allegations in this paragraph are directed to Experian, and therefore, no

response by Freedom Mortgage is required.          To the extent that the allegations of these

paragraphs could be construed as pertaining to Freedom Mortgage, Freedom Mortgage responds

as follows: Denied.

       10.      The allegations in this paragraph are directed to Equifax, and therefore, no

response by Freedom Mortgage is required.          To the extent that the allegations of these



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paragraphs could be construed as pertaining to Freedom Mortgage, Freedom Mortgage responds

as follows: Denied.

       11.    The allegations in this paragraph are directed to Equifax, and therefore, no

response by Freedom Mortgage is required.        To the extent that the allegations of these

paragraphs could be construed as pertaining to Freedom Mortgage, Freedom Mortgage responds

as follows: Denied.

       12.    The allegations in this paragraph are directed to Equifax, and therefore, no

response by Freedom Mortgage is required.        To the extent that the allegations of these

paragraphs could be construed as pertaining to Freedom Mortgage, Freedom Mortgage responds

as follows: Denied.

                                         As to Facts

       13.    Admitted, upon information and belief.

       14.    Admitted in part, denied in part. It is admitted only that Plaintiffs’ monthly

mortgage payment increased from $778.29 to $1,196.96 in or around January, 2016, due to an

escrow account shortage.    It is further admitted that Plaintiffs filed a prior action against

Freedom Mortgage which was settled without admission of liability on the part of Freedom

Mortgage. The remaining allegations in this paragraph are denied.

       15.    Admitted in part, denied in part. It is admitted only that Plaintiffs and Freedom

Mortgage reached a settlement of the previous lawsuit on or about June 2, 2017, without

admission of liability on the part of Freedom Mortgage. The terms of the settlement are

expressly stated in that document and to the extent the remaining allegations incorrectly

characterize or reflect those terms, Freedom Mortgage responds as follows: Denied.




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          16.   Freedom Mortgage lacks information to admit or deny the allegations in this

paragraph and therefore responds as follows: Denied.

          17.   Denied.

          18.   Denied.

          19.   Freedom Mortgage lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in this paragraph, and, therefore, they are deemed

denied.

          20.   The allegations of this paragraph constitute a legal conclusion to which no

response is required. To the extent the allegations of this paragraph are deemed factual in

nature, Freedom Mortgage admits only that it received a communication from Plaintiffs

requesting information concerning their account. The remaining allegations are denied.

          21.   Denied.

          22.   Denied.

          23.   Freedom Mortgage lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in this paragraph, and, therefore, they are deemed

denied.

          24.   Freedom Mortgage lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in this paragraph, and, therefore, they are deemed

denied.

          25.   Freedom Mortgage lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in this paragraph, and, therefore, they are deemed

denied.




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          26.   Freedom Mortgage lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in this paragraph, and, therefore, they are deemed

denied.

          27.   Denied.

          28.   The allegations in this paragraph are directed to either Experian or Equifax, and

therefore, no response by Freedom Mortgage is required. To the extent that the allegations of

these paragraphs could be construed as pertaining to Freedom Mortgage, Freedom Mortgage

responds as follows: Denied.

          29.   The allegations in this paragraph are directed to either Experian or Equifax, and

therefore, no response by Freedom Mortgage is required. To the extent that the allegations of

these paragraphs could be construed as pertaining to Freedom Mortgage, Freedom Mortgage

responds as follows: Denied. Further responding, Freedom Mortgage denies that it failed and

refused to investigate and correct inaccurate reporting and denies that any reporting was

inaccurate.

          30.   Freedom Mortgage lacks knowledge or information; sufficient to form a belief

about the truth of the allegations concerning what information was submitted by Plaintiff.

Freedom Mortgage further responds that the information allegedly submitted by Plaintiffs speaks

for itself, and any interpretations or characterizations inconsistent therewith are denied. Further

responding, Freedom Mortgage denies that any delinquencies being reported were inaccurate.

          31.   Denied that the credit reporting of the subject loan account with Freedom

Mortgage was inaccurate.       Furthermore, certain allegations of this paragraph purport to

characterize written credit reports, which are documents in writing that speak for themselves, and

any interpretations or characterizations inconsistent thereof are denied.      As for allegations



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concerning the publishing of any consumer reports to third parties, Freedom Mortgage lacks

knowledge or information sufficient to form a belief about the truth of such allegations contained

in this paragraph, and, therefore, they are deemed denied.

                                          Count One
                Violation of Fair Credit Reporting Act - 15 U.S.C. § 1681(e)(b)
                                   (Experian and Equifax)

        32.      Freedom Mortgage incorporates its responses to the foregoing paragraphs as if

fully set forth herein.

        33.     The allegations of this Count of the Complaint are directed to either Experian or

Equifax, and therefore, no response by Freedom Mortgage is required. To the extent that the

allegations of these paragraphs could be construed as pertaining to Freedom Mortgage, Freedom

Mortgage responds as follows: Denied.

        34.      The allegations of this Count of the Complaint are directed to either Experian or

Equifax, and therefore, no response by Freedom Mortgage is required. To the extent that the

allegations of these paragraphs could be construed as pertaining to Freedom Mortgage, Freedom

Mortgage responds as follows: Denied.

        35.      The allegations of this Count of the Complaint are directed to either Experian or

Equifax, and therefore, no response by Freedom Mortgage is required. To the extent that the

allegations of these paragraphs could be construed as pertaining to Freedom Mortgage, Freedom

Mortgage responds as follows: Denied.

        36.      The allegations of this Count of the Complaint are directed to either Experian or

Equifax, and therefore, no response by Freedom Mortgage is required. To the extent that the

allegations of these paragraphs could be construed as pertaining to Freedom Mortgage, Freedom

Mortgage responds as follows: Denied.



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                                           Count Two
                 Violation of Fair Credit Reporting Act - 15 U.S.C. § 1681(i)(a)
                                    (Experian and Equifax)

        37.     Freedom Mortgage incorporates its responses to the foregoing paragraphs as if

fully set forth herein.

        38.     The allegations of this Count of the Complaint are directed to either Experian or

Equifax, and therefore, no response by Freedom Mortgage is required. To the extent that the

allegations of these paragraphs could be construed as pertaining to Freedom Mortgage, Freedom

Mortgage responds as follows: Denied.

        39.     The allegations of this Count of the Complaint are directed to either Experian or

Equifax, and therefore, no response by Freedom Mortgage is required. To the extent that the

allegations of these paragraphs could be construed as pertaining to Freedom Mortgage, Freedom

Mortgage responds as follows: Denied.

        40.     The allegations of this Count of the Complaint are directed to either Experian or

Equifax, and therefore, no response by Freedom Mortgage is required. To the extent that the

allegations of these paragraphs could be construed as pertaining to Freedom Mortgage, Freedom

Mortgage responds as follows: Denied.

        41.     The allegations of this Count of the Complaint are directed to either Experian or

Equifax, and therefore, no response by Freedom Mortgage is required. To the extent that the

allegations of these paragraphs could be construed as pertaining to Freedom Mortgage, Freedom

Mortgage responds as follows: Denied.

        42.     The allegations of this Count of the Complaint are directed to either Experian or

Equifax, and therefore, no response by Freedom Mortgage is required. To the extent that the




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allegations of these paragraphs could be construed as pertaining to Freedom Mortgage, Freedom

Mortgage responds as follows: Denied.

        43.     The allegations of this Count of the Complaint are directed to either Experian or

Equifax, and therefore, no response by Freedom Mortgage is required. To the extent that the

allegations of these paragraphs could be construed as pertaining to Freedom Mortgage, Freedom

Mortgage responds as follows: Denied.

        44.     The allegations of this Count of the Complaint are directed to either Experian or

Equifax, and therefore, no response by Freedom Mortgage is required. To the extent that the

allegations of these paragraphs could be construed as pertaining to Freedom Mortgage, Freedom

Mortgage responds as follows: Denied.

                                        Count Three
        Violation of Fair Credit Reporting Act - 15 U.S.C. § 1681s-2(b)(1)(A) and (B)
                                    (Freedom Mortgage)

        45.      Freedom Mortgage incorporates its responses to the foregoing paragraphs as if

fully set forth herein.

        46.     The allegations contained in this paragraph constitute a legal conclusion to which

no answer is required. To the extent any response is required, Freedom Mortgage responds as

follows: Denied.

        47.     The allegations contained in this paragraph constitute a legal conclusion to which

no answer is required. To the extent any response is required, Freedom Mortgage responds as

follows: Denied.

        48.     Admitted only that Freedom Mortgage receives credit history disputes submitted

to consumer reporting agencies through “E-Oscar.” The remaining allegations contained in this




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paragraph purport to characterize an automated system used to create and respond to consumer

credit history disputes, and any characterizations inconsistent thereof are denied.

          49.   The allegations contained in this paragraph purport to characterize an automated

system used to create and respond to consumer credit history disputes, and any characterizations

inconsistent thereof are denied.

          50.   Denied as stated. Rather, when a consumer disputes credit reporting relating to a

Freedom Mortgage account with a consumer reporting agency, it receives that dispute through

the E-Oscar system in the form of an “automated credit dispute verification” (“ACDV”) form.

          51.   Admitted only that Freedom Mortgage reasonably reviewed and investigated

Plaintiffs’ credit history dispute, and that it properly verified the accuracy of the account trade

line reported. The remainder of the allegations in this paragraph are denied.

          52.   Freedom Mortgage lacks knowledge or information sufficient to form a belief

about the truth of the allegations contained in this paragraph, and, therefore, they are deemed

denied.

          53.   The allegations of this paragraph contain hypothetical facts to which no response

is required.    To the extent any response is required, Freedom Mortgage responds as follows:

Denied.

          54.   Denied.

          55.   Denied.

          56.   The allegations contained in this paragraph constitute a legal conclusion to which

no answer is required. To the extent any response is required, Freedom Mortgage responds as

follows: Denied.




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         57.     The allegations contained in this paragraph constitute legal conclusions to which

 no answer is required. To the extent any response is required, Freedom Mortgage responds as

 follows: Denied.

         58.     The allegations of this paragraph constitute legal conclusions to which no

 response is required.

         59.     Denied.

         60.     Denied as stated.     During the relevant period of time, Freedom Mortgage

 implemented certain policies and procedures regarding error resolution, including credit

 reporting and, upon information and belief, such procedures were followed with respect to

 Plaintiffs’ alleged credit reporting disputes.

         61.     The allegations of this paragraph constitute legal conclusions to which no

 response is required. To the extent any response is required, Freedom Mortgage responds as

 follows: Denied.

                                         Count Four
         Violation of Fair Credit Reporting Act - 15 U.S.C. § 1681s-2(b)(1)(C) and (D)
                                     (Freedom Mortgage)

         62.     Freedom Mortgage incorporates its responses to the foregoing paragraphs as if

 fully set forth herein.

         63.      The allegations of this paragraph constitute legal conclusions to which no

 response is required. To the extent any response is required, Freedom Mortgage responds as

 follows: Denied.

         64.     The allegations of this paragraph purport to characterize ACDV dispute forms,

 which are documents in writing that speak for themselves, and any interpretations or




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 characterizations inconsistent thereof are denied.    To the extent any response is required,

 Freedom Mortgage responds as follows: Denied.

           65.   Denied.

           66.   Denied as stated.     It is admitted only that Freedom Mortgage is aware that

 Plaintiffs communicated certain disputes regarding the subject account to Freedom Mortgage.

 Freedom Mortgage responded directly to Plaintiffs regarding those disputes.

           67.   The allegations of this paragraph constitute a legal conclusion to which no

 response is required. To the extent any response is required, Freedom Mortgage responds as

 follows: Denied.

           68.   Denied.

           69.   Denied.

           70.   Denied as stated.     During the relevant period of time, Freedom Mortgage

 implemented certain policies and procedures regarding error resolution, including credit

 reporting, and, upon information and belief, such procedures were followed with respect to

 Plaintiffs’ alleged credit reporting disputes.

           71.   Freedom Mortgage lacks knowledge or information sufficient to form a belief

 about the truth of such allegations contained in this paragraph, and, therefore, they are deemed

 denied.

           72.   Denied. It is denied that Freedom Mortgage caused any “failures in this case” as

 it relates to Freedom Mortgage’s obligations under FCRA. Further responding, during the

 relevant period of time, Freedom Mortgage implemented certain policies and procedures

 regarding error resolution, including through credit reporting and, upon information and belief,

 such procedures were followed with respect to Plaintiffs’ alleged credit reporting disputes. Such



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 policies and procedures may be updated from time to time. At this time, Freedom Mortgage is

 not aware of any updates to such policies and procedures caused specifically by the allegations

 made by Plaintiffs in their Complaint.

         73.       The allegations of this paragraph constitute legal conclusions to which no

 response is required. To the extent any response is required, Freedom Mortgage responds as

 follows: Denied.

         74.       The allegations of this paragraph constitute legal conclusions to which no

 response is required. To the extent any response is required, Freedom Mortgage responds as

 follows: Denied.

         75.       The allegations of this paragraph constitute legal conclusions to which no

 response is required. To the extent any response is required, Freedom Mortgage responds as

 follows: Denied.

                                              Count Five
               Violation of Real Estate Settlement Procedures Act -12 U.S.C. § 2605(e)
                                         (Freedom Mortgage)

         76.       Freedom Mortgage incorporates its responses to the foregoing paragraphs as if

 fully set forth herein.

         77.       The allegations of this paragraph constitute legal conclusions to which no

 response is required. To the extent that this paragraph could be construed as alleging any facts,

 Freedom Mortgage responds as follows: The allegation of this paragraph purport to characterize

 correspondence allegedly sent to Freedom Mortgage by Plaintiffs, which are documents in

 writing that speak for themselves, and any interpretations or characterizations inconsistent

 thereof are denied.




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        78.     The allegations of this paragraph constitute legal conclusions to which no

 response is required. To the extent that this paragraph could be construed as alleging any facts,

 Freedom Mortgage responds as follows: Denied.

        79.     It is denied that Freedom Mortgage failed to respond to any QWR properly sent to

 the designated address.

        80.     (a) – (d) The allegations of this paragraph, including subparagraphs (a) through

 (d), constitute legal conclusions to which no response is required. To the extent any response is

 required, Freedom Mortgage responds as follows: Denied.

        81.     The allegations of this paragraph constitute legal conclusions to which no

 response is required. To the extent any response is required, Freedom Mortgage responds as

 follows: Denied.

        82.     The allegations of this paragraph constitute legal conclusions to which no

 response is required. To the extent any response is required, Freedom Mortgage responds as

 follows: Denied.

        83.     The allegations of this paragraph constitute legal conclusions to which no

 response is required. To the extent any response is required, Freedom Mortgage responds as

 follows: Denied.

        84.     The allegations of this paragraph constitute legal conclusions to which no

 response is required. To the extent any response is required, Freedom Mortgage responds as

 follows: Denied.

        WHEREFORE, Freedom Mortgage states that Plaintiffs are not entitled to any requested

 relief and respectfully requests judgment in its favor and against Plaintiffs, together with an

 award of such other and further relief as this Court deems appropriate



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                                  AFFIRMATIVE DEFENSES

        Freedom Mortgage asserts affirmative defenses as follows:

                                    First Affirmative Defense

        Plaintiffs have failed to state any claims against Freedom Mortgage upon which relief

 may be granted.

                                   Second Affirmative Defense

        Plaintiffs’ claims may be barred by the doctrines of estoppel, waiver or laches.

                                    Third Affirmative Defense

        Plaintiffs are not entitled to any recovery to the extent their claims are barred the statutes

 of limitations for claims under FCRA and RESPA.

                                   Fourth Affirmative Defense

        Plaintiffs’ claims are barred and/or diminished to the extent that they failed to take proper

 and reasonable steps to avoid or to mitigate the damages alleged.

                                    Fifth Affirmative Defense

        Plaintiffs’ damages are speculative, lack any viable legal basis, and are not causally

 connected to Freedom Mortgage’s alleged credit reporting.

                                    Sixth Affirmative Defense

        Plaintiffs have failed to state any grounds to recover attorneys’ fees.

                                   Seventh Affirmative Defense

        Freedom Mortgage complied with the FCRA and RESPA and is entitled to each and

 every defense stated in the FCRA and RESPA and any and all limitations of liability.




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                                   Eighth Affirmative Defense

         At all relevant times, Freedom Mortgage acted within the absolute and qualified

 privileges afforded it under FCRA, the Constitution of the United States, applicable state

 Constitutions, and common law.

                                    Ninth Affirmative Defense

         Freedom Mortgage’s statements, if any, concerning Plaintiffs were true or substantially

 true.

                                    Tenth Affirmative Defense

         Plaintiffs’ damages are the result of acts or omissions committed by other parties over

 whom Freedom Mortgage had no responsibility or control.

                                  Eleventh Affirmative Defense

         Freedom Mortgage did not commit any intentional, willful, or malicious acts.

                                   Twelfth Affirmative Defense

         With respect to Plaintiffs’ demands for punitive damages, Freedom Mortgage

 incorporates by reference all standards of limitations regarding the determination and

 enforceability of punitive damage awards which arose in the decisions of BMW of North

 America v. Gore, 517 U.S. 559 (1996), Cooper Industries, Inc. v. Leatherman Tool Group, Inc.,

 532 U.S. 424 (2001), and State Farm Mutual Automobile Insurance Co. v. Campbell, 538 U.S.

 408 (2003).

                                 Thirteenth Affirmative Defense

         Plaintiffs’ written correspondence allegedly sent to Freedom Mortgage was not a

 “qualified written request” as that term is defined under RESPA.




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                                 Fourteenth Affirmative Defense

        Freedom Mortgage established a separate and exclusive office and address for the receipt

 and handling of qualified written requests, and Plaintiffs’ purported QWRs were not sent to that

 duly designated address.

                                  Fifteenth Affirmative Defense

        Part or all of Plaintiffs’ claims may have been released by prior settlement agreement

 between with Freedom Mortgage.

                                  Sixteenth Affirmative Defense

        Plaintiffs’ claims are barred, in whole or in part, to the extent the consumer reporting

 agencies failed to notify Freedom Mortgage of Plaintiff’s alleged disputes, pursuant to 15 U.S.C.

 § 1681s-2(b).

                                 Seventeenth Affirmative Defense

        Freedom Mortgage at all times relevant hereto complied with all applicable standards,

 policies and federal, state and other regulations and laws.

                                  Eighteenth Affirmative Defense

        Freedom Mortgage has at all times acted in good faith to assure the accuracy of

 information concerning Plaintiffs.

                                  Nineteenth Affirmative Defense

        Freedom Mortgage reserves its right to set forth additional defenses if and when

 additional facts become known.

                                      RELIEF REQUESTED

                 Defendant, Freedom Mortgage Corporation, requests entry of an Order: (a)

 dismissing the Complaint in its entirety with prejudice, (b) granting judgment in favor of



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 Freedom Mortgage Corporation and against Plaintiffs, (c) granting Freedom Mortgage such other

 and further relief as this Court deems necessary and just.

                                               Respectfully submitted,
 Date: December 4, 2018
                                               /s/ Walter Buzzetta
                                               Walter J. Buzzetta (VSB No. 68006)
                                               Stradley Ronon Stevens & Young, LLP
                                               1250 Connecticut Ave., N.W., Suite 500
                                               Washington, D.C. 20036
                                               Tel.: (202) 822-9611
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                                               wbuzzetta@stradley.com

                                               Counsel for Defendant Freedom Mortgage Corporation




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                                CERTIFICATE OF SERVICE

        I, Walter J. Buzzetta, hereby certify that the foregoing Answer and Affirmative Defenses

 was filed using the CM/ECF system and served electronically to all counsel of record.



 Date: December 4, 2018
                                             /s/ Walter Buzzetta
                                             Walter J. Buzzetta




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